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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

DISPLAY TECHNOLOGIES, LLC,
              Plaintiff,
       v.                                          CIVIL ACTION NO. 2:23-cv-00585

ROCHE DIABETES CARE, LTD.,
                                                   JURY TRIAL DEMANDED
              Defendant.




                                        COMPLAINT
       Plaintiff files this complaint for patent infringement against defendant and alleges as
follows:
                                          PARTIES
       1.     Plaintiff is a Texas limited liability company with an office at 1 East Broward
Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
       2.     Defendant Roche Diabetes Care, Ltd. is a foreign entity to the State of Texas.




Figure 1 – Excerpt showing Accused Instrumentality appearing on website owned by Roche
Diabetes Care Limited as last visited on December 10, 2023, at https://www.accu-
chek.com/products/mysugr.

       3.     Venue is proper in the Eastern District of Texas as to Defendant pursuant to at
least 28 U.S.C. §§ 1391 and 1400.
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                              ACCUSED INSTRUMENTALITIES
       4.      Defendant’s ACCU-CHEK Guide meter and “ACCU-CHEK Guide Me” meter
use the patented inventions when paired with the mySugr app (collectively “Accused
Instrumentalities”). There is not an alleged infringement asserted in this lawsuit beyond the
Accu-Chek Guide meter now discontinued products that retain convoyed sales for the selling of
test strips for glucose monitoring. Defendant makes, uses, imports, sells, or offers to sell the
Accused Instrumentality to infringe only Patent Claims asserted direct and indirectly, which are
specifically Claims 1, 3, 6, 8, 9, 12, 14, 20, 22, 24, 27, 29, 30, 32, 34, 37, 39, 40, 42, 44, 47, 49,
and 50 of the ’723 Patent and Claims 1, 3, 11, 13, 17, 18, 19, 21, 22, and 23 of the ’195 Patent.




Figure 2 – Excerpt from Defendant’s website, as last visited on September 29, 2023,
https://www.accu-chek.com/products/mysugr.

                                            COUNT I




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                          Infringement of United States Patent No. 8,671,195
          5.    Plaintiff refers to and incorporates the allegations in Paragraphs above, the same
as if set forth herein.
          6.    This cause of action arises under the patent laws of the United States and, in
particular under 35 U.S.C. §§ 271, et seq.
          7.    Defendant has knowledge of its infringement of the ’195 Patent (Exhibit 1), at
least as of the service of the present complaint.
          8.    Accordingly, Defendant has infringed and continues to infringe, the ’195 Patent in
violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and
continues to infringe one or more claims, including at least Claim 1, of the ’195 Patent by
making, using, importing, selling, and/or offering for sale, as identified in the Claim Chart
attached hereto as Exhibits 3.
          9.    Defendant also has and continues to directly infringe, literally or under the
doctrine of equivalents, one or more claims, including at least Claim 1, of the ’195 Patent, by
having its employees internally test and use the Accused Instrumentalities.
          10.   The service of this Complaint, in conjunction with the attached Claim Chart
(Exhibit 3) and references cited, constitutes actual knowledge of infringement as alleged here.
          11.   Exhibit 3 includes at least one chart comparing the exemplary claim 1 of the ’195

Patent to exemplary Accused Instrumentalities. As set forth in this chart, the Accused
Instrumentalities practice the technology claimed by the ’195 Patent. Accordingly, the Accused
Instrumentalities incorporated in this chart satisfy all elements of exemplary claim 1 of the ’195
Patent.
          12.   Plaintiff therefore incorporates by reference in its allegations herein the claim
chart of Exhibit 3.
          13.   Plaintiff is entitled to recover damages adequate to compensate for Defendant’s
infringement.




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       14.     Defendant’s actions complained of herein will continue unless Defendant is
enjoined by this Court.
       15.     The ’195 Patent is valid, enforceable, and was duly issued in full compliance with
Title 35 of the United States Code.
       16.     By engaging in the conduct described herein, Defendant has injured Plaintiff and
is liable for infringement of the ’195 Patent, pursuant to 35 U.S.C. § 271.
       17.     Defendant has committed these acts of literal infringement, or infringement under
the doctrine of equivalents of the ’195 Patent, without license or authorization.
       18.     As a result of Defendant’s infringement of the ’752 Patent, injured Plaintiff has
suffered monetary damages and is entitled to a monetary judgment in an amount adequate to
compensate for Defendant’s past infringement, together with interests and costs.
       19.     Plaintiff is in compliance with 35 U.S.C. § 287.
       20.     As such, Plaintiff is entitled to compensation for any continuing and/or future
infringement of the ’195 Patent up until the date that Defendant ceases its infringing activities or
until expiration projected by Google Patents to be no earlier than February 6, 2032.
       21.     Defendant’s infringement is willful as it had knowledge of the patents through its
Freedom to Operate analysis performed on information and belief.


                                              COUNT 2
             (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
       22.     Plaintiff incorporates above paragraphs herein by reference.

       23.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       24.     Plaintiff is the owner by assignment of the ’723 Patent with sole rights to

enforce the ’723 Patent and sue infringers.




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       25.     A copy of the ’723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit 2.

       26.     The ’723 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       27.     Defendant has infringed and continues to infringe one or more claims, including

at least Claim 1 of the ’723 Patent by making, using, and/or selling glucose monitoring systems

covered by one or more claims of the ’723 Patent. Defendant has infringed and continues to

infringe the ’723 Patent in violation of 35 U.S.C. § 271.




Figure 3 – Excerpt from Defendant’s website, as last visited on September 29, 2023,
https://www.accu-chek.com/products/mysugr.




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Figure 4 – Excerpt from Defendant’s website, as last visited on September 29, 2023,
https://www.accu-chek.com/products/mysugr.

       28.     Regarding Claim 1, the method is configured to receive a media file from a

wireless mobile device over a communication network (e.g. Bluetooth network). The wireless

mobile device (e.g., mobile phone) sends data (e.g., Accu-Chek Guide) to the mySugr App

system. Certain aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.

       29.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain

aspects of this element are illustrated in the screenshots below and/or in those provided in

connection with other allegations herein.

       30.     The Product includes a security measure. For example, the Product must be

paired and connected by inputting a password and/or Bluetooth code (i.e., a security measure)

to a wireless mobile device (e.g., mobile phone) before receiving data. Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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Figure 5 – Excerpt from Exhibit 3 at 5.

       31.     The Product is disposed in an accessible relation to at least one interactive

computer network (e.g., Bluetooth network) that has a wireless range structured to permit

authorized access (e.g., via pairing code) to said at least one interactive computer network.

       32.     When the wireless mobile device is within the wireless range, the wireless

mobile device is detectable by the media system (e.g., the media system automatically detects a

smartphone when the mobile device is within Bluetooth range).




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Figure 6 – Excerpt from Exhibit 4 at 6.

          33.   The media system is structured to detect the wireless mobile device disposed

within the wireless range (e.g., media system automatically detects the mobile phone when it is

within Bluetooth range). Certain aspects of this element are illustrated in the screenshots below

and/or those provided in connection with other allegations herein.

          34.   A BLE communication link is initiated by the media system. The devices will

automatically connect when the units are in range.        Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.


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        35.     The wireless mobile device and the media system are structured to transmit the

at least one digital media file there between via the communication link (e.g., media system

allows for the transmission of files between itself and the wireless mobile device).

        36.     The communication link is structured to bypass the security measure of the

media system for a limited permissible use of the communication link by the wireless mobile

device for only transferring the at least one digital media file to, and displaying the at least one

digital media file on, the media system (e.g., the media system bypasses the security measure

of the Bluetooth network).

        37.     Defendant’s actions complained of herein will continue unless Defendant is

 enjoined by this court.

        38.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

        39.     Plaintiff is in compliance with 35 U.S.C. § 287.


                                  DEMAND FOR JURY TRIAL
        40.     Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury of any issues so triable by right.
                                      PRAYER FOR RELIEF
        WHEREFORE, Plaintiff asks the Court to:
        (a)   Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;
        (b)     Enter an Order enjoining Defendant, its agents, officers, servants, employees,
attorneys, and all persons in active concert or participation with Defendant who receives notice

of the order from further infringement of Patents (or, in the alternative, awarding Plaintiff
running royalty from the time judgment going forward);



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        (c) Award Plaintiff damages resulting from Defendants infringement in accordance with
 35 U.S.C. § 284;
        (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under
 law or equity.


 Dated: December 11, 2023                           Respectfully Submitted,

                                                    /s/ Randall T. Garteiser
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                                                    COUNSEL FOR PLAINTIFF




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